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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                               BOWLING GREEN DIVISION


UNITED STATES OF AMERICA
upon the relation and for the use of the
TENNESSEE VALLEY AUTHORITY,
Plaintiff,

       v.                                                     No. 1:25-CV-00030-GNS

TREE-REMOVAL RIGHTS WITH
RESPECT TO LAND IN WARREN
COUNTY, KENTUCKY,
ROBERT BLAKE PHILLIPPI,
JENNIFER LYNN McCOY,
SERVICE ONE CREDIT UNION,
AMERICAN BANK AND TRUST
  COMPANY, INC.,
Defendants.

                 PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF AN
                      ORDER DIRECTING DEPOSIT OF FUNDS

       This is a federal condemnation action in which the Plaintiff, the United States of America

upon the relation and for the use of the Tennessee Valley Authority (TVA), moves the Court,

pursuant to the Declaration of Taking Act, 40 U.S.C. §§ 3114−3118 (2012) (formerly codified

at 40 U.S.C. §§ 258a–258e-1), for entry of an order directing the Clerk of Court to invest, in

accordance with Local Rule 67.1(b), all sums tendered to the Clerk by the Plaintiff.

       As grounds for this motion, Plaintiff states that the Declaration of Taking Act is

applicable to condemnations such as this under the TVA Act (see 16 U.S.C. § 831c(i)); that

the Declaration of Taking Act authorizes the deposit with the Court of the funds tendered by

Plaintiff, and that, upon acceptance and deposit of the funds tendered by Plaintiff, all

requirements of the Declaration of Taking Act will have been fulfilled and Plaintiff will be

entitled to an order of immediate possession pursuant to 40 U.S.C. § 3114(d)(1).



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      A proposed order for investment of funds is attached hereto pursuant to WDKY

Amended ECF Administrative Policies and Procedures 5(e).

                                             Respectfully submitted,

                                             s/James S. Chase
                                             James S. Chase (TN BAR 020578)
                                             Assistant General Counsel
                                             OFFICE OF THE GENERAL COUNSEL
                                             Tennessee Valley Authority
                                             400 West Summit Hill Drive
                                             Knoxville, Tennessee 37902-1401
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                                             jschase@tva.gov

                                             Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

         I certify that the foregoing Plaintiff’s Ex Parte Motion for Entry of an Order Directing

Deposit of Funds was filed electronically through the Court’s ECF system on the date shown in

the document’s ECF footer. Notice of this filing will be sent by operation of the Court’s ECF

system to all parties as indicated on the electronic filing receipt (parties may access this filing

through the Court’s ECF system).

         A copy of this document is being sent to the Defendants by regular U.S. mail as indicated

below:

                Robert Blake Phillippi
                1388 Goshen Church North Road
                Bowling Green, Kentucky 42101

                Jennifer Lynn McCoy
                1388 Goshen Church North Road
                Bowling Green, Kentucky 42101

                Service One Credit Union
                c/o Rebecca S. Stone
                (registered agent for service of process),
                1609 Campbell Lane
                Bowling Green, Kentucky 42104

                American Bank and Trust Company, Inc.
                c/o ELPO Corporate Services, LLC
                (registered agent for service of process)
                1101 College Street
                Bowling Green, Kentucky 42101

                                                   s/James S. Chase
                                                   James S. Chase (TN BAR 020578)
                                                   Attorney for Plaintiff
129783517




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